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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA,

                  -against-                                         S1 23 Cr. 118 (AT)
    YANPING WANG, a/k/a “Yvette,”                                   DECLARATION

                         Defendant.



          I, Kimberly Ravener, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.     I am an Assistant United States Attorney in the Office of the United States Attorney

for the Southern District of New York (the “Office”).

          2.     Since approximately January 2019, I have been assigned to the Office’s National

Security and International Narcotics Unit, which was formerly known as the Terrorism and

International Narcotics (“TIN”) Unit.

          3.     While in TIN, along with AUSA Elizabeth Hanft, I was assigned to an investigation

concerning Ho Wan Kwok, a/k/a “Miles Guo” (“Guo”), which began in or about September 2019

(the “TIN Matter”).

          4.     On September 19, 2019, Emil Bove (“Bove”) and Shawn Crowley (“Crowley”)

were appointed Co-Chiefs of TIN and, in that capacity, were my direct supervisors. As TIN Co-

Chiefs, Bove and Crowley were responsible for overseeing all matters in TIN, including the TIN

Matter.

          5.     Starting in or about late September 2019, AUSA Hanft 1 and I worked with the FBI

to draft premises search warrants authorizing the search of Guo’s Manhattan penthouse apartment




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    AUSA Hanft transferred to a different unit in January 2020.
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at the Sherry-Netherland Hotel and Guo’s office on East 64th Street for evidence relevant to the

TIN Matter. The FBI executed the warrants on or about October 3, 2019 and October 4, 2019 (the

“Warrants”). I recall that Crowley and another supervisor reviewed the Warrants prior to their

being submitted to the court.

       6.      Following the execution of the Warrants, the TIN Matter remained active, and I

continued to work with the FBI regarding the FBI’s review and analysis of the evidence recovered

during the searches. This was a significant undertaking given the volume of materials seized, the

nature of the materials




       7.      It is my practice to regularly update my supervisors regarding all of my cases. As

a general matter, I updated Bove and Crowley frequently regarding the status of my cases,

including the TIN Matter. My updates to Bove and Crowley regarding the TIN Matter also would

have included classified information or information that otherwise raised national security

concerns. Those updates were primarily oral, whether in person or on the telephone. In my

experience, substantive calls or in-person discussions often included both of the TIN Chiefs. The

TIN Matter was no different. I recall that Bove was a hands-on supervisor, which means that he

was engaged and attentive to all cases he supervised, including the TIN Matter.

       8.      My conversations with Bove and Crowley regarding the TIN Matter included,

among other things, discussion of the status of the search warrant return review (which involved a

large number of electronic devices, documents that were in Mandarin,




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                                     , and



       9.      One of the issues I discussed with Bove and Crowley was the FBI’s analysis of the

search warrant returns.




       10.




       11.     I also believe that I updated Bove and Crowley on a variety of idiosyncrasies

concerning Guo’s conduct and the potential implications for the TIN Matter. Specifically, I recall




                                                                             I believe I conveyed

this information to Bove and Crowley.

       12.     In or about 2020, I became aware that the Complex Frauds & Cybercrime Unit

(“CFU”) had opened a fraud investigation into Guo (the “CFU Matter”). I recall having brought




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the fact of the CFU Matter to Bove’s and Crowley’s attention, given its potential for factual overlap

with the TIN Matter.

        13.




        14.    After Crowley raised her potential conflict through the time of her departure from

the Office in December 2020, Bove was the only supervisor available to consult on all aspects of

the TIN Matter. Bove continued to supervise the TIN Matter until he left the Office in December

2021.

        15.    On or about July 25, 2023, I spoke with AUSAs handling the CFU Matter regarding

Bove’s supervision of the TIN Matter.         The AUSAs asked me to search my emails for

communications with Bove regarding the TIN Matter, which I did, to the extent I was able. Based

on that review, and emails provided to me by the CFU AUSAs, I have reviewed several emails,

including the following:



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               a.      On or about October 21, 2019, I sent an email to AUSA Hanft regarding a

conversation I had with the FBI case agent on the TIN Matter. (I understand that this email is

marked as Exhibit G.) This email reflects my practice of updating the TIN chiefs on my matters.

This email reflects that I updated Bove regarding the TIN Matter and that Bove then provided me

advice concerning the TIN Matter.

               b.      On or about July 1, 2020, Bove copied me into an email to the Office’s

Criminal Division Chief, which was a response to an email regarding a press inquiry into a

potential SDNY investigation relating to Miles Guo, among others. (I understand that this email

was attached to the Government’s Motion as Exhibit B.) Bove’s email reflected information that

I had provided to the TIN Co-Chiefs regarding the status of the TIN Matter—specifically, that I

was “working with FBI on a [TIN] investigation of Guo”; that “the FBI executed premises warrants

targeting Guo in the fall;” and that the FBI and I were “still reviewing the warrant take ([the FBI]

seized a lot of media) and following up on leads.” (Gov’t Ex. B.)




                                                                    Based on my review of Exhibit

B, Bove appears to have conveyed that information to the Chief of the Criminal Division.

               c.      On or about July 9, 2020, Crowley forwarded me an email, copying Bove,

that included a link to a Wall Street Journal article regarding Guo. (I understand that this email

was attached to the Government’s Motion as Exhibit C.) In turn, I forwarded the email chain to



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AUSA Hanft and the particular CFU AUSA who was then working on the CFU Matter.




               d.     On or about August 20, 2020, Crowley emailed me, copying Bove, and

stated, “Assume you’re tracking



In response, I confirmed to Crowley and Bove that I was “[t]racking




     did not notify “CFU either,” which is a reference to the AUSAs handling the CFU

investigation into Guo. I believe that this email reflects that Bove, Crowley, and I were aware of



                          the CFU Matter.

               e.     On or about January 20, 2022, I was copied into an email from the Office’s

Associate United States Attorney, John McEnany, requesting information regarding Bove’s

supervision of the TIN Matter, in connection with Bove’s potential representation of Mei Guo,

who is Guo’s daughter, in a matter involving Guo’s yacht, the Lady May. (I understand that

McEnany’s email was attached to the Government’s Motion as Exhibit D.) Several days later,

McEnany advised me and AUSA Hanft, in sum and substance, that McEnany had spoken with

Bove and indicated that Bove should not represent Mei Guo, given that Bove had supervised the

TIN Matter.



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        16.     Other than what is set forth herein, I do not at this time have a specific recollection

of other oral conversations with Bove about the TIN Matter.

        17.     I declare under penalty of perjury that the information contained in this declaration

is true and correct.

Dated: New York, New York
       August 18, 2023

                                                      Respectfully submitted,


                                                      _________________________
                                                      Kimberly Ravener
                                                      Assistant United States Attorney
                                                      Southern District of New York




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